       Case 2:17-cr-00187-KJM Document 44 Filed 12/06/17 Page 1 of 2


1

2

3

4

5                         UNITED STATES DISTRICT COURT

6                        EASTERN DISTRICT OF CALIFORNIA

7

8    UNITED STATES OF AMERICA,             No. 2:17-cr-00187-GEB
9                   Plaintiff,
10        v.
11   KARI SCATTAGALIA, ET AL.,
12                  Defendants.
13
     UNITED STATES OF AMERICA,             No. 2:17-cr-00210-MCE
14
                    Plaintiff,
15
          v.
16
     JAGPAL SINGH, ET AL.,
17               Defendants.
18
     UNITED STATES OF AMERICA,             No. 2:17-cr-00213-TLN
19
                    Plaintiff,
20
          v.                               RELATED CASES ORDER
21
     RAHIM MAHBOOB,
22               Defendant.
23

24              On December 4, 2017, the United States of America filed
25   “Notice   of    Related     Cases”   documents   concerning       the   above
26   captioned cases.      The cases are related within the meaning of
27   Local Rule 123 (E.D. Cal. 2005).         Under the regular practice of
28
                                          1
       Case 2:17-cr-00187-KJM Document 44 Filed 12/06/17 Page 2 of 2


1    this court, related cases are generally assigned to the judge to

2    whom the first filed case was assigned.         Therefore, Jagpal Singh,

3    et al., 2:17-cr-00210-MCE, and Rahim Mahboob, 2:17-cr-00213-TLN,

4    are   reassigned    to   the   undersigned     judge   for    all   further

5    proceedings, and the caption on the reassigned cases shall show

6    the initials “GEB.”

7               Further, any date currently set in the reassigned cases

8    is VACATED, and a status conference is scheduled to commence in

9    2:17-cr-00210-GEB and 2:17-cr-00213-GEB at 9:00 a.m. on January

10   5, 2018.

11              The Clerk of the Court shall make any adjustment in the

12   assignment of criminal cases necessitated by the reassignments.

13   Dated:   December 5, 2017

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                          2
